                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

LEWIS C. CAIN,                                         )
                                                       )
       Plaintiff,                                      )
                                                       )       No. 3:18-cv-00521
v.                                                     )
                                                       )       Judge Waverly Crenshaw
CITY OF MT. JULIET;                                    )       Magistrate Judge Joe Brown
MICHAEL CORDLE; and                                    )
MICHAEL WENTZELL                                       )
                                                       )
       Defendants.                                     )


     MOTION FOR SUMMARY JUDGMENT BY DEFENDANT MICHAEL CORDLE


       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant Michael Cordle,

by and through undersigned counsel, respectfully moves this Court to grant summary judgment

against Plaintiff Lewis C. Cain and dismiss this action and all claims against Michael Cordle.

There are no genuine, material factual disputes that would allow a jury to find in favor of Plaintiff,

and Michael Cordle is entitled to judgment as a matter of law on all claims against him.

       This Motion is supported by Michael Cordle’s Memorandum of Law in Support of Motion

for Summary Judgment, Statement of Concise Material Facts on Behalf of Defendants Michael

Wentzell and Michael Cordle in Support of Their Motions for Summary Judgment, and a Joint

Notice of Filing.

       For all the reasons set forth in the foregoing, Defendant Michael Cordle respectfully

requests entry of an order dismissing Plaintiff’s action against him in its entirety.




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                                CERTIFICATE OF SERVICE

        I certify that the foregoing Motion for Summary Judgment by Defendant Michael Cordle
was filed electronically on February 3, 2020. Notice of this filing will be sent by operation of the
Court’s electronic filing system upon:


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                                                  /s/ Samantha A. Foster_________________
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